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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV 13-05525-MWF (CWx)                    Date: November 19, 2013
 Case No. CV 13-6109-MWF(PLAx)
 Title:   Porshia Jones -v- Corelogic Credo, LLC, et al.
          Porshia Jones -v- Transunion LLC, et al.

 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                           Court Reporter:
           Rita Sanchez                            Not Reported

           Attorneys Present for Plaintiff:        Attorneys Present for Defendant:
           None Present                            None Present

 Proceedings (In Chambers): ORDER GRANTING IN PART AND DENYING IN
                            PART MOTION TO DISMISS [8]; AND
                            CONSOLIDATING RELATED ACTIONS
                            PURSUANT FRCP 42(A)

       This matter is before the Court on the Motion to Dismiss (the “Motion”), filed
 by Defendant Corelogic Credo, LLC on October 3, 2013. (Docket No. 8). The Court
 reviewed and considered the papers on this Motion, and held a hearing on November
 18, 2013. For the reasons stated below, the Court GRANTS IN PART and DENIES
 IN PART the Motion. The Motion is granted with leave to amend.

       Plaintiff Porshia Jones initiated this action by filing a Complaint on July 31,
 2013. (Docket No. 1). On October 3, 2013, Defendant Corelogic Credo, LLC
 (“Corelogic”) filed this Motion. (Docket No. 8). On October 25, 2013, Ms. Jones filed
 an Opposition to the Motion to Dismiss (the “Opposition”). (Docket No. 13). On
 November 4, 2013, Corelogic filed a Reply in Support of Motion to Dismiss Plaintiff’s
 Complaint with Prejudice (the “Reply”). (Docket No. 16).

       The Complaint alleges that Ms. Jones purchased a vehicle from Global Motors
 of Houston (“Global”) on October 6, 2008. (Compl. ¶ 13). Although Ms. Jones
 alleges that she always made her payments on the vehicle, Global notified her, on or

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 about January 24, 2009, that she owed a balance of $6,000.00, which was more than 90
 days past due. (Id. at ¶¶ 13-14).

        The Complaint also alleges that on May 6, 2013, Ms. Jones sent correspondence
 to Corelogic advising it that there was inaccurate information appearing on her
 Corelogic credit report, relating to the debt owed to Global. (Id. at ¶ 8). As Corelogic
 notes in the Motion, the May 6, 2013 date is clearly a “typographical error” (Mot. at 2
 n.2), since Ms. Jones received the results of Corelogic’s investigation into this
 inaccurate information on March 6, 2011. (Compl. ¶ 16). However, there is no
 information in the Complaint from which the Court can infer the actual date of Ms.
 Jones’s initial correspondence to Corelogic. The Complaint does twice allege, though,
 that in March 2011, Ms. Jones received a letter from Corelogic stating that it had
 completed an investigation and that the information on the credit report was appearing
 correctly. (Id. at ¶¶ 9, 16).

         According to the Complaint, on October 16, 2011, Ms. Jones spoke with Kris
 Carrier from Global who informed her that her file had been mistakenly mixed with
 another customer named Pamela R. Jones. (Id. at ¶ 17). Ms. Jones then alleges that
 she sent another correspondence to Corelogic asking that they reinvestigate her account
 and cease negative credit reporting. (Id.at ¶ 18). The Complaint alleges that “[t]o this
 day, [Corelogic] refuses to correct the information appearing on [her] credit summary.”
 (Id. at ¶ 9).

       The Complaint states two claims for relief against Corelogic.

       First, the Complaint alleges that Corelogic violated the California Investigative
 Consumer Reporting Agencies Act (“ICRAA”), Cal. Civ. Code §§ 1786, et seq., by
 continuing to report inaccurate identity information with regard to Ms. Jones, failing to
 conduct a reasonable investigation in response to Ms. Jones’s reports of inaccurate


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 information, and “having inefficient and unworkable procedures to procure, report,
 reinvestigate and verify consumer information.” (Compl. ¶ 10).

        Second, the Complaint alleges that Corelogic violated the Fair Credit Reporting
 Act (“FCRA”), 15 U.S.C. §§ 1681, et seq., by failing to follow reasonable procedures
 to assure maximum possible accuracy of information in Ms. Jones’ consumer report,
 failing to correct incomplete and/or inaccurate information in Ms. Jones’s file, and
 having inefficient procedures for correct credit files. (Compl. ¶¶ 20, 22).

 Motion to Dismiss
       In ruling on the Motion under Rule 12(b)(6), the Court follows Bell Atlantic
 Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007), and
 Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). “To
 survive a motion to dismiss, a complaint must contain sufficient factual matter,
 accepted as true, to ‘state a claim to relief that is plausible on its face.’ ” Iqbal, 556
 U.S. at 678 (citation omitted). “All allegations of material fact in the complaint are
 taken as true and construed in the light most favorable to the plaintiff.” Williams v.
 Gerber Prods. Co., 552 F.3d 934, 937 (9th Cir. 2008).

       Statute of Limitations
        Corelogic argues that Ms. Jones’s claims are barred by the two-year statute of
 limitations that apply to ICCRA, Cal. Civ. Code § 1786.52, and FCRA claims, 15
 U.S.C. § 1681p(1). (Mot. at 5-9). The two-year statute of limitations for both ICCRA
 and FCRA claims begins running on the date of discovery by the plaintiff of the
 violation that serves as the basis for liability. Cal. Civ. Code § 1786.52; 15 U.S.C. §
 1681p(1).

      Corelogic argues that the letter it allegedly sent to Ms. Jones on March 16, 2011
 (Compl. ¶ 16), triggered the running of the statute of limitations. (Mot. at 8).
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 Therefore, Ms. Jones’s claims expired on or before March 16, 2013, which was four
 months before the Complaint was filed on July 31, 2013. (Id.).

      Ms. Jones argues that the two-year statute of limitations that applies to ICCRA
 and FCRA claims has not run, due to the continuing violation doctrine. (Opp. at 4).

        Ms. Jones is correct that, with regard to FCRA claims, a number of cases have
 held that each transmission of a credit report containing inaccurate information is a
 separate tort, to which a separate statute of limitations applies. See Hyde v. Hibernia
 Nat’l Bank in Jefferson Parish, 861 F.2d 446, 450 (5th Cir. 1988) (stating that “the
 confidential nature of a credit report necessarily means that each new issuance results
 in a distinct and separate injury”); Whitesides v. Equifax Credit Info. Servs., 125 F.
 Supp. 2d 807, 812 (W.D. La. 2000) (stating “each transmission of the same credit
 report is a separate and distinct tort to which a separate statute of limitations applies”).

        However, the principle applied to FCRA claims is distinct from “the continuing
 violation doctrine, which permits recovery ‘for actions that take place outside the
 limitations period if these actions are sufficiently linked to unlawful conduct within the
 limitations period.” Komarova v. Nat’l Credit Acceptance, Inc., 175 Cal. App. 4th
 324, 343, 95 Cal. Rptr. 3d 880, 894 (2009) (applying the continuing violation doctrine
 to debt collection activities that violated California’s Rosenthal Fair Debt Collection
 Practices Act). The continuing violation doctrine, in other words, applies to revive
 violations that are otherwise outside of the statute of limitations.

        In contrast, in the context of FCRA, a new violation does not revive the statute
 of limitations for an older violation, but simply triggers a new statute of limitations.
 For example, in the case credited with first applying this FCRA principle, the Fifth
 Circuit stated, the “second issuance of the [credit] report was not, however, a
 continuing act, like the constant repetition of a nuisance, but was a discrete event.”
 Hyde, 861 F.2d at 449. Therefore,

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       [i]f [the plaintiff] was, indeed, injured in 1983, the 1983 and 1986 injuries
       constituted two distinct harms: [the plaintiff] would have been denied a
       particular credit in 1983 and denied yet another line of credit in 1986. While
       each injury resulted from [the credit reporting agency’s] transmission of the
       same erroneous credit files, [the agency’s] later action inflicted a new injury on
       [the plaintiff].

 Id. at 450.

        Notably, the Fifth Circuit did not hold that the 1983 injury was revived by the
 1986 injury. The Fifth Circuit simply rejected the application of the “single
 publication rule” to FCRA claims. Id. As applied to defamation claims, the single
 publication rule provided that “the republication of the same defamatory material . . .
 constitute[d] ‘but one tort.’ ” Id.; see also Whitesides, 125 F. Supp. 2d at 812
 (“Therefore, each time a potential creditor requested [the plaintiff’s] credit report and
 each time credit was denied based upon [inaccurate reported information], the statute
 of limitations began to run anew for each potential harm.”) (emphasis added).

        Although the parties have not cited to a Ninth Circuit case applying the FCRA
 principles articulated in Hyde, other courts within this Circuit have applied the
 reasoning in Hyde. See, e.g., Fleischmann v. Care Credit, No. CV 12-08032 DDP
 FMOX, 2012 WL 6082893 (C.D. Cal. Dec. 6, 2012) (adopting and applying the
 reasoning in Hyde); Acton v. Bank One Corp., 293 F. Supp. 2d 1092, 1098 (D. Ariz.
 2003) (recognizing and applying the reasoning in Hyde that “each transmission of the
 same credit report is a separate and distinct tort to which a separate statute of
 limitations applies”). Therefore, this Court follows the reasoning in Hyde.

        However, the difficulty with applying Hyde is that the Complaint lacks
 specificity with regard to alleged dates of violations. The only clear date in the
 Complaint giving rise to liability is March 16, 2011, when Corelogic notified Ms.

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 Jones that it had completed its investigation into the information she disputed, found
 that the disputed information was correct, and continued to report the disputed
 information. (Compl. ¶ 16). As Corelogic points out, the statute of limitations expired
 on this violation on March 16, 2013.

        Ms. Jones, however, argues that under Hyde, the Complaint is not barred by the
 statute of limitations because of two other allegations in the Complaint. (Opp. at 4-5).

        First, Ms. Jones argues that the statute of limitations has not run because the
 Complaint alleges that Corelogic continues to report “the derogatories,” which the
 Court construes to mean the disputed information. (Opp. at 4). The Complaint alleges,
 “[t]o this day CORELOGIC refuses to correct the information appearing on [Ms.
 Jones’s] credit summary.” (Compl. ¶ 9). Although this allegation is only made in
 reference to the ICCRA claim, the Court can infer that Ms. Jones intended it to apply
 also to the FCRA claim. Even inferring as such, this general allegation does not
 specify a particular ICCRA or FCRA violation, or injury to Ms. Jones, which occurred
 within the two-year statute of limitations. See, e.g., Acton, 293 F. Supp. 2d at 1098
 (finding that a complaint does not trigger a new statute of limitations under the logic of
 Hyde and Whitesides, where “Plaintiff has not clearly identified any other claims
 arising under § 1681e(b)” of FCRA). Therefore, the Court cannot find that the
 conclusory allegation that Corelogic fails to correct Ms. Jones’s credit summary, to
 date, plausibly alleges a new ICCRA or FCRA violation, which would trigger a new
 statute of limitations.

        Second, Ms. Jones also argues that the Complaint alleges a second violation,
 which occurred in October 2011. (Opp. at 5). The Complaint alleges that Ms. Jones
 “sent correspondence to CORELOGIC asking that they reinvestigate her account [sic]
 cease any negative credit reporting and remove her account form [sic] collection
 activity.” (Compl. ¶ 18). Although the Complaint does not clearly allege that this


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 second request occurred in October 2011, it can be so inferred from the progression of
 events in the Complaint.

        The key issue is whether Corelogic’s response to this October 2011 request
 comprises the same or different injury, as its response to Ms. Jones’s initial notice of
 dispute, which occurred sometime before March 2011. If alleged violations stemming
 from the October 2011 request comprise different injuries, then they trigger a new
 statute of limitations. It appears that the courts are split on this issue.

        Corelogic argues that violations stemming from the October 2011 request do not
 trigger a new statute of limitations. In support of its argument, Corelogic cites to cases
 that refused to allow additional notices of dispute regarding the same allegedly
 inaccurate information to restart the statute of limitations because “[t]o do so would
 allow plaintiffs to indefinitely extend the limitations period by simply sending another
 complaint letter to the credit reporting agency.” Bittick v. Experian Information
 Solutions, Inc., 419 F. Supp. 2d 917 (N.D. Tx. 2006) (finding that where all of the
 alleged events in the Complaint occurred outside of the two-year statute of limitations,
 except for a second notice of dispute pertaining to the same inaccurate information as a
 previous notice of dispute, the second notice of dispute did not restart the two-year
 statute of limitations); see also Hancock v. Charter One Mort., No. 07-15118, 2008
 WL 2246042, at *2 (E.D. Mich. May 30, 2008) (stating that the plaintiffs’ “subsequent
 dispute letters regarding the same erroneous information do not restart . . . the statute
 of limitations clock” because “[a] perpetual statute of limitations [was] not intended by
 the FCRA”); Blackwell v. Capital One Bank, No. 606CV066, 2008 WL 793476, at *3
 (S.D. Ga. Mar. 25, 2008) (agreeing with the reasoning in Bittick and rejecting the
 plaintiff’s argument that a new notice restarts the statutes of limitation if the credit
 reporting agency fails to properly investigate the new notice).

        In contrast, Ms. Jones cites to cases in which courts have found that later notices
 of dispute relating to the same inaccurate information triggered new duties on the part
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 of the credit reporting agency, and thus, triggered new statute of limitations. See
 Broccuto v. Experian Info. Solutions, Inc., No. 3:07CV782-HEH, 2008 WL 1969222
 (E.D. Va. May 6, 2008) (stating that the court “cannot square the logic of [Bittick and
 Blackwell] with a plain reading of FCRA,” and finding that “[t] he statute’s
 construction creates a violation every time a consumer submits a dispute to a credit
 reporting agency and that agency or the relevant lender does not respond to the
 complaint as directed by the statute”); Baratto v. Citizens Auto. Finance, Inc., No. 11–
 105 (MJD/LIB), 2011 WL 3678676, at *5 (Aug. 1, 2011) (finding that a “new and
 distinct claim arises each time that [the furnisher] fails to conduct a reasonable
 investigation in response to a dispute lodged by” the consumer).

        The parties have not cited to any cases from within this Circuit addressing
 whether a later filed notice of dispute, relating to the same inaccurate information as a
 prior notice, is an independent violation triggering a new statute of limitations. This
 Court also has not independently found a binding case on point. However, the Court
 has found Ninth Circuit precedent that impliedly supports Ms. Jones’s reasoning.

        In Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147 (9th Cir. 2009), the
 Ninth Circuit construed 15 U.S.C. § 1681s-2(b), which imposes certain duties on
 furnishers of information to consumer reporting agencies, when they have received
 notice of disputed information. These duties include conducting a reasonable
 investigation and modifying or deleting information found to be inaccurate or
 incomplete. See 15 U.S.C. § 1681s-2(b)(1)(A) & (E). Although Corelogic is alleged
 to be a consumer reporting agency and a reseller of information, as opposed to a
 furnisher, FCRA imposes similar duties on consumer reporting agencies and resellers
 to investigate disputed information and to modify or delete inaccurate or incomplete
 information. See 15 U.S.C. § 1681i. Therefore, the Ninth Circuit’s understanding of
 the duties that FCRA imposes on furnishers is instructive to the Court’s understanding
 of the duties imposed on consumer reporting agencies and resellers.

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       In Gorman, the plaintiff disputed information that appeared on his credit card
 account issued by MNBA America Bank (“MNBA”). Gorman, 584 F.3d at 1151. He
 contacted MNBA directly once about the disputed information, and then later caused
 four notices regarding the same dispute to be sent to MNBA. Id. at 1151, 1157.
 Although the Ninth Circuit found that the furnisher could reasonably rely on its
 previous investigation of the dispute in responding to each new notice, the Ninth
 Circuit separately evaluated whether MNBA’s response to each new notice was
 reasonable. Id. at 1157-61.

        Although Gorman may not be directly on point, it nonetheless indicates that
 each notice of dispute triggers a separate duty to investigate. If each new notice
 triggers a new duty to investigate, then it is possible that each notice can give rise to a
 separate failure to conduct a reasonable investigation and a separate statute of
 limitations. Therefore, the Court finds that Ms. Jones’s allegation that Corelogic failed
 to conduct a reasonable investigation in response to her October 2011 request is not
 barred by the two-year statute of limitations. However, as indicated above, the
 October 2011 request does not revive any alleged violations that exist outside of the
 statute of limitations.

        With regard to the ICCRA claims, Ms. Jones simply cites case law that applies
 the continuing violation doctrine to the Rosenthal Fair Debt Collection Practices Act,
 as opposed to ICCRA. (Opp. at 5). The Court does not find this legal authority
 persuasive with regard to ICCRA claims. Therefore, based on the analysis conducted
 above, ICCRA claims arising from the March 6, 2011 letter are also time-barred.
 Neither party has presented arguments as to whether ICCRA claims arising from the
 October 2011 letter constitute new ICCRA violations. However, the Court need not
 reach this issue. As indicated below, Ms. Jones cannot maintain concurrent ICCRA
 and FCRA claims with regard to the same acts or omissions.



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        Concurrent ICCRA and FCRA Claims

        Corelogic also argues that Ms. Jones’s ICCRA claims should be dismissed
  because she cannot maintain a concurrent action for both ICCRA and FCRA claims.
  (Mot. at 9). Ms. Jones does not dispute that she cannot obtain relief under both ICCRA
  and FCRA, but argues that the preemption provisions constitute an “election of
  remedies.” (Opp. at 6). Ms. Jones requests that the Court defer ruling on whether she
  can recover under the FCRA or ICCRA claim until judgment, or alternatively, that the
  Court issue a stay on the state claim, rather than dismiss it. (Id.).

         FCRA provides that “[n]o requirement or prohibition may be imposed under the
  laws of any State . . . with respect to any subject matter regulated under . . . subsection
  1681i, relating to,” among other provisions, “any procedure related to the disputed
  accuracy of information in a consumer’s file.” 15 U.S.C. § 1681t(b)(1)(B). Because
  the plain language of § 1681t(b)(1)(B) prohibits the application of state laws to
  Corelogic’s procedures relating to the disputed accuracy of information in Ms. Jones’s
  files, Ms. Jones cannot maintain state law claims against Corelogic for its alleged
  failure to conduct a reasonable investigation or its failure to correct information
  pursuant to that investigation.

         Additionally, ICCRA states, “[a]ny investigative consumer reporting agency or
  use of information against whom an action brought pursuant to [15 U.S.C. §§ 1681n,
  1681o] is pending shall not be subject to suit for the same act or omission under
  Section 1786.50.” Cal. Civ. Code § 1786.52. Sections 1681n and 1681o of FRCA
  authorize suits for willful and negligent noncompliance, respectively. See 15 U.S.C.
  §§ 1681n, 1681o. Ms. Jones has alleged that Corelogic both negligently and willfully
  failed to conduct a reasonable investigation and to delete incomplete or inaccurate
  information. (Compl. ¶ 20(a)-(d)). ICCRA’s plain language thus does not support Ms.
  Jones’s contention that the preemption provision merely addresses an election of
  remedies. The plain language prohibits Ms. Jones from “subject[ing]” Corelogic “to
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  suit for the same act or omission.” Cal. Civ. Code § 1786.52. Moreover, Ms. Jones
  has not offered any legal authority allowing the Court to stay the state claim, while
  proceeding with the federal law claim.

        Therefore, Ms. Jones cannot maintain her ICCRA claims because they are based
  on the same factual basis as her FCRA claims. Accordingly, the Court dismisses Ms.
  Jones’s ICCRA claims.

          In the Reply, Corelogic argues for the first time that Ms. Jones’s ICRAA claims
  should be dismissed because Corelogic is not an investigative consumer report within
  the meaning of the ICRAA, Cal. Civ. Code § 1786.2(c). Although Corelogic appears
  to be correct on this point, the Court cannot consider this argument because Ms. Jones
  has not had an opportunity to respond to it. See Eberle v. City of Anaheim, 901 F.2d
  814, 818 (9th Cir. 1990) (“It is well established in this circuit that ‘ “[t]he general rule
  is that appellants cannot raise a new issue for the first time in their reply briefs.” ’ ”);
  United States v. Boyce, 148 F. Supp. 2d 1069, 1085 (S.D. Cal. 2001) aff’d, 36 Fed.
  App’x 612 (9th Cir. 2002) (stating that an “argument [that] was not presented in [the
  defendants’] moving papers . . . should not be considered now, as it is improper for a
  party to raise a new argument in a reply brief”). Moreover, Ms. Jones’s ICCRA claims
  can be dismissed on a different basis.

         Accordingly, the Court GRANTS IN PART the Motion and DISMISSES (1)
  Ms. Jones’s claims for relief arising from the March 16, 2011 letter, as well as any
  other actions that occurred prior to July 31, 2011, and (2) Ms. Jones’s ICCRA claims.
  The Court grants the Motion with leave to amend.

        However, the Court DENIES IN PART the Motion, as to Ms. Jones’s FCRA
  claims for relief arising from the October 2011 request. Plaintiff is free, of course, not
  to amend and to proceed simply in the FCRA claims.


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  Consolidation of Actions

        At the hearing held on November 18, 2013, the Court also inquired into whether
  there was any reason why Porshia Jones v. Transunion LLC, et al., Case No. CV-13-
  06109-MWF (PLAx), should not be consolidated with this action. The parties did not
  express any objections to consolidation.

         Federal Rule of Civil Procedure 42(a) allows the Court to consolidate actions
  that “involve a common question of law or fact.” Fed. R. Civ. P. 42(a). “The district
  court has broad discretion under this rule to consolidate cases pending in the same
  district.” Investors Research Co. v. U.S. Dist. Court for Cent. Dist. of Cal., 877 F.2d
  777, 777 (9th Cir. 1989).

         “The threshold issue . . . is whether the actions involve common facts or legal
  issues.” Yousefi v. Lockheed Martin Corp., 70 F. Supp. 2d 1061, 1064 (C.D. Cal.
  1999). Here, both actions were filed by Ms. Jones. Both actions arise out of the same
  underlying facts, stemming from the allegedly inaccurate reporting of Ms. Jones’s debt
  to Global Motors as delinquent. Both actions allege claims under FCRA and ICCRA.
  The later filed action, Case No. 2:13-cv-06109-MWF (PLAx), alleges one additional
  claim under the Fair Debt Collection Practices Act, but that claim also stems from the
  same facts as the credit reporting claims. Therefore, the two actions involve common
  facts and legal issues.

        In determining whether to consolidate, “a court weighs the interest in judicial
  convenience against the potential for delay, confusion, and prejudice caused by
  consolidation.” Paxonet Commc’ns, Inc. v. TranSwitch Corp., 303 F. Supp. 2d 1027,
  1028-29 (N.D. Cal. 2003). The interest of economy and judicial convenience favor
  consolidation because the two actions would involve the same discovery efforts and
  similar motions. Moreover, consolidation would not delay, confuse, or cause


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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

  Case No. CV 13-05525-MWF (CWx)                    Date: November 19, 2013
  Case No. CV 13-6109-MWF(PLAx)
  Title:   Porshia Jones -v- Corelogic Credo, LLC, et al.
           Porshia Jones -v- Transunion LLC, et al.

  prejudice, since both actions involve the same underlying factual basis and overlapping
  claims for relief.

         Accordingly, Case No. CV-13-06109-MWF (PLAx), is hereby CLOSED and
  CONSOLIDATED with this action, Case No. CV-13 -05525-MWF (CWx). The
  actions are consolidated for all purposes, including discovery, pretrial proceedings, and
  trial. Going forward, the parties shall make all filings in Case No. CV-13-05525-MWF
  (CWx) only.

        IT IS SO ORDERED.




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